36 F.3d 1100
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that no party may cite an opinion not intended for publication unless the cases are related by identity between the parties or the causes of action.Estella R. GARCIA, Appellant,v.Donna E. SHALALA, Secretary of Health and Human Services, Appellee.
    No. 93-3855ND.
    United States Court of Appeals,Eighth Circuit.
    Submitted:  September 12, 1994.Filed:  September 19, 1994.
    
      Before McMILLIAN, FAGG, and BOWMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      We have reviewed the record and conclude that an opinion will have no precedential value.  We affirm on the basis of the district court's decision.  See 8th Cir.  R. 47B.
    
    